      Case 2:19-cv-12492-MVL-KWR Document 65 Filed 07/22/20 Page 1 of 2




SHANNON DARDAR AND ANTHONY                                     CIVIL ACTION NO: 2:19 - 12492
DARDAR
                                                               JUDGE:                  LEMMON
v.
                                                               MAGISTRATE:             ROBY
GREEN HARBORS, LLC, COSTA
ENVIRONMENTAL SERVICES, LLC,
MIKE EVANS, AND TRUIT ACOSTA



      ORDER APPROVING SETTLEMENT AND DISMISSAL WITH PREJUDICE
       This matter is before the court upon the parties’ Joint Motion for Approval of Settlement

(“Joint Motion”). This case involves claims under the Faith Labor Standards Act, 29 U.S.C. § 201

et seq., for alleged unpaid overtime wages, and claims under the Louisiana Wage Payment Law.

       The Court acknowledges that this Order is a judicial approval of a reasonable compromise,

not a finding, conclusion, or reflection of any admission of a violation of the Fair Labor Standards

Act (“FLSA”), or a violation of the Louisiana Wage Payment law, willful, intentional, or

otherwise. The Court has reviewed the parties’ Joint Motion and the Settlement Agreement. The

Court is also aware of the exchange of relevant information by means of informal discovery, and

the Court is of the opinion that bona fide disputes exist over the application of relevant provisions

of the FLSA, 29 U.S.C. § 201 et seq., most particularly the amount of overtime compensation due,

if any. In light of the above, the Court is of the opinion that the parties’ settlement reflects a fair

and reasonable resolution of these bona fide disputes. Consequently, the court ORDERS as

follows:




                                              Page 1 of 2
Case 2:19-cv-12492-MVL-KWR Document 65 Filed 07/22/20 Page 2 of 2




1.    The Court GRANTS the parties’ Joint Motion.

2.    The Court APPROVES the settlement and the form of the Settlement Agreement.

3.    The Court APPROVES the monetary distribution as to Plaintiff and Plaintiffs’

      former Counsel as described in the Settlement Agreement and ORDERS

      Defendants to make payments accordingly.

4.    The Court DISMISSES this case WITHOUT PREJUDICE to reinstatement within

      sixty (60) days of this Order if any party represents to the Court that final settlement

      documentation could not be completed. After that date, the dismissal of this case

      is to be “with prejudice.” Each party is to bear its/their own expenses and attorney

      fees unless noted otherwise in the Settlement Agreement.

New Orleans, Louisiana, this 21st
                             ____ day of __________________________,
                                                July                 2020.




                                     UNITED STATES DISTRICT JUDGE




                                    Page 2 of 2
